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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA,                           §
                                                     §
                                                     § CASE NUMBER 6:16-CR-00008-RC
 v.                                                  §
                                                     §
                                                     §
 QUANNELL NEWTON (3),                                §
                                                     §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable K. Nicole Mitchell, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by Federal

Rule of Criminal Procedure 11 and issued her Findings of Fact and Recommendation on Guilty

Plea Before the United States Magistrate Judge. The magistrate judge recommended that the court

accept the Defendant’s guilty plea. She further recommended that the court adjudge the Defendant

guilty on Count One of the Superseding Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

agreement until after review of the presentence report. The court ORDERS the Defendant’s

attorney to read and discuss the presentence report with the Defendant, and file any objections to

the report BEFORE the date of the sentencing hearing.




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        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Quannell Newton (3), is

adjudged guilty as to Count One of the Superseding Indictment charging a violation of 18 U.S.C.

§ 1201(c) - Conspiracy to Commit Kidnapping.

    So Ordered and Signed
    Dec 7, 2016




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